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                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

     NETLIST, INC.,                             )
                                                )
                  Plaintiff,                    )
                                                )    Case No. 2:22-cv-293-JRG
           vs.                                  )
                                                )    JURY TRIAL DEMANDED
     SAMSUNG ELECTRONICS CO, LTD;               )    (Lead Case)
     SAMSUNG ELECTRONICS AMERICA,               )
     INC.; SAMSUNG SEMICONDUCTOR                )
     INC.,                                      )
                                                )
                  Defendants.                   )

     NETLIST, INC.,                  )
                                     )
               Plaintiff,            )
                                     )
                                                     Case No. 2:22-cv-294-JRG
          vs.                        )
                                     )
                                                     JURY TRIAL DEMANDED
     MICRON TECHNOLOGY, INC.; MICRON )
     SEMICONDUCTOR PRODUCTS, INC.; )
     MICRON TECHNOLOGY TEXAS LLC, )
                                     )
               Defendants.           )
                                     )

                 JOINT MOTION TO AMEND DOCKET CONTROL ORDER

           Plaintiff Netlist, Inc. (“Netlist”) and Defendants Samsung Electronics Co., Ltd.,

    Samsung Electronics America, Inc., and Samsung Semiconductor, Inc. (collectively

    “Samsung”), Micron Technology, Inc., Micron Semiconductor Products, Inc., and Micron

    Technology Texas LLC (collectively “Micron”) respectfully file this Joint Motion to Amend

    the Docket Control Order.

           On January 31, 2023, Netlist served the First Supplemental Preliminary Infringement

    Contentions (“PICs”). Samsung and Micron do not object to Netlist serving amended PICs

    after the deadline for serving PICs, in exchange for Netlist’s agreement to an extension of
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    time for their invalidity contentions and related deadlines, in order to allow them sufficient

    time to address Netlist’s amended contentions. In connection with the supplemental PICs,

    Netlist is concurrently filing an unopposed motion for leave to amend the PICs.

           The parties respectfully jointly request that the Court extend the deadline for Samsung

    and Micron to serve its invalidity contentions for ten weeks, amending the deadline as

    proposed below:


     Current             Amended               Event
     Deadline            Deadline

     February 2, 2023    April 13, 2023        Comply with P.R. 3-3 & 3-4 (Invalidity
                                               Contentions)



    Dated: February 2, 2023                      Respectfully submitted,

                                                 /s/ Samuel F. Baxter

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    Dated February 2, 2023                 Respectfully submitted,

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                                           Samsung Semiconductor, Inc.


    Dated February 2, 2023                 Respectfully submitted,

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                                                 Attorneys for Micron Technology, Inc.,
                                                 Micron Semiconductor Products,
                                                 Inc., and Micron Technology Texas,
                                                 LLC



                               CERTIFICATE OF CONFERENCE

           I hereby certify that counsel have complied with the meet and confer requirement in

    Local Rule CV-7(h) and this Court’s Orders and that all parties join in this motion.

                                                         /s/ Jennifer Truelove
                                                         Jennifer Truelove


                                  CERTIFICATE OF SERVICE


           The undersigned hereby certifies that the foregoing document was filed electronically

    in compliance with Local Rule CV-5(a). As such, this document was served on February 2,

    2023 on all counsel who have consented to electronic service.


                                                      /s/ Jennifer Truelove
                                                      Jennifer Truelove



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